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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

In re:                                                       Case No. 18-35480-H5-13
         CEDRIC DEMANS BELL
                                                             Chapter 13
                    Debtor(s)



                     CHAPTER 13 STANDING TRUSTEES' FRBP 2012 REPORT
                      ACCOUNTING OF PRIOR ADMINISTRATION OF CASE

William E. Heitkamp, former Chapter 13 Trustee for the period from the petition date through
December 31, 2023, and Tiffany D. Castro, successor Chapter 13 Trustee for the above-captioned
case, submit the following accounting of the estate pursuant to 11 U.S.C. §1302(b) and pursuant
to Federal Rules of Bankruptcy Procedure 2012(b)(2).


 Receipts:

         Total paid by or on behalf of the debtor              $20,458.24
         Less amount refunded to debtor                             $0.00

 NET RECEIPTS:                                                                              $20,458.24


 Expenses of Administration:

         Attorney’s Fees Paid Through the Plan                         $6,026.50
         Court Costs                                                       $0.00
         Trustee Expenses & Compensation                               $1,217.93
         Other                                                             $0.00
         Secured Creditors                                            $10,311.41
         Priority Creditors                                              $652.39
         General Unsecured Creditors                                   $1,010.45

 Total Disbursements & Expense of Administration:                                           $19,218.68



 Balance Transferred to Successor Trustee                                                    $1,239.56


Dated: 01/03/2024

/s/ William E. Heitkamp                                  /s/ Tiffany D. Castro
Former Chapter 13 Standing Trustee                       Successor Chapter 13 Standing Trustee
9821 Katy Freeway, Suite 590                             9821 Katy Freeway, Suite 590
Houston, TX 77024                                        Houston, TX 77024
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                              ****IMPORTANT ANNOUNCEMENT****


Attention: Interested Parties of Bankruptcy Cases Administered by William E. Heitkamp


Effective January 01, 2024, the United States Trustee has appointed Tiffany D. Castro as my
successor as Standing Chapter 13 Trustee for this bankruptcy case. This change will not affect
the administration of the Chapter 13 Plan.


It has been a pleasure serving as your Trustee, and I wish you the very best.

                                               William E. Heitkamp, Standing Chapter 13 Trustee (Retired)
